                                       UNITED STATES DISTRICT COURT
                                        DISTRICT OF MASSACHUSETTS

UNITED STATES                                                )
                                                             )
v.                                                           )          Criminal Action 18-cv-10307-MLW
                                                             )
DAREN DEJONG,                                                )
                                                             )
                              Defendant.                     )



                             GOVERNMENT’S REPONSE TO THE COURT’S
                                 NOVEMBER 4, 2019 ORDER [D. 72]

          The United States of America does not oppose the motion to partially unseal the

defendant’s sentencing memorandum [D. 70-71].

                                                                        Respectfully submitted,

                                                                        ANDREW E. LELLING
                                                                        United States Attorney

                                                             By:        /s/ Mark Grady
                                                                        MARK GRADY
                                                                        DUSTIN CHAO
                                                                        Assistant U.S. Attorneys

                                                        Certificate of Service
           I hereby certify that this document filed through the ECF system will be sent electronically to the registered participants
as identified on the Notice of Electronic Filing (NEF).
                                                                        /s/ Mark Grady
                                                                        MARK GRADY
                                                                        DUSTIN CHAO
                                                                        Assistant U.S. Attorneys
Date:      November 4, 2019




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